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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 18-cr-32 (DLF)
 INTERNET RESEARCH AGENCY, ET AL.,

                 Defendants.


                 JOINT MOTION REQUESTING SCHEDULING ORDER

       The United States of America and defendant Concord Management and Consulting, LLC

(“Concord”) hereby respond to the Court’s Order requesting a schedule for further proceedings

and for briefing on any outstanding discovery issues as follows.

       Defense counsel has advised that the defendant intends to file a motion pursuant to

Paragraph 11 of the Protective Order (Dkt. 42-1) seeking the Court’s approval to disclose

discovery designated as Sensitive by the government to officers and employees of Concord. The

parties have conferred on a briefing schedule for this motion, as set forth in the attached

proposed order. Both parties anticipate filing additional pretrial motions. However, because the

defense has represented to the government that the resolution of this motion will significantly

affect the defense position with respect to how it can proceed, the parties request that the Court

refrain from scheduling further proceedings in this matter until this motion is decided.

       The parties further request that the Court exclude the time from November 15, 2018, the

date of the Court’s ruling on the defendant’s most recent motion to dismiss, to December 21,

2018, the proposed date of the defendant’s filing of its motion, for purposes of the Speedy Trial

Act, 18 U.S.C. § 3161 et seq. This exclusion is warranted under 18 U.S.C. § 3162(h)(7)(A) on

the ground that the ends of justice served by a continuance outweigh the best interest of the
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public and the defendant in a speedy trial. In particular, this case is unusually complex due to the

nature of the prosecution, the possibility of novel questions of fact or law, and the voluminous

discovery at issue. 18 U.S.C. § 3162(h)(7)(B).

                                      Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 18-cr-32 (DLF)
 INTERNET RESEARCH AGENCY, ET AL.,

                 Defendants.


                                              ORDER

       Having considered the parties’ Joint Motion Requesting a Scheduling Order, it is

ORDERED that the motion is GRANTED as follows:

       (1) The defendant, Concord Management and Consulting, LLC, shall file its motion to

           disclose discovery designated as Sensitive by the government to officers and

           employees of Concord on or before December 21, 2018;

       (2) The government shall file its opposition on or before January 30, 2019;

       (3) The defendant shall file its reply on or before February 20, 2019.

       Further, the Court finds that the ends of justice are served by the granting of a

continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) and outweigh the best interest of the public

and the defendant in a speedy trial. Specifically, as described by the parties in their joint motion,

this case is unusual and complex due to the nature of the prosecution, the possibility of novel

questions of fact or law, and the voluminous discovery at issue. See 18 U.S.C. §

3161(h)(7)(B)(ii). Accordingly, it is ORDERED that the period of November 15, 2018 to

December 21, 2018 is excluded for purposes of Speedy Trial Act calculations.
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SO ORDERED.



Date:
                                   DABNEY L. FRIEDRICH
                                   United States District Judge
